   Case 2:10-md-02179-CJB-DPC Document 1900-3 Filed 04/08/11 Page 1 of 2




                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                  *      MDL NO. 2179
“DEEPWATER HORIZON” IN THE                       *
GULF OF MEXICO, on APRIL 20, 2010                *
                                                 *      SECTION J
                                                 *
THIS DOCUMENT RELATES TO:                        *      JUDGE BARBIER
                                                 *
2:11-cv-00263                                    *      MAG. JUDGE SHUSHAN
                                                 *

                                 NOTICE OF SUBMISSION

       You will take notice that Plaintiff Buddy Trahan’s Opposed Motion to Remand is set

for submission before Judge Barbier on Wednesday, April 27, 2011 at 9:30 a.m.


                                          Sincerely,

                                          Lubel Voyles LLP


                                          By:__/s/ Lance Lubel______________
                                              Lance H. Lubel
                                              Texas State Bar No.: 12651125
                                              Adam Q. Voyles
                                              Texas State Bar No.: 24003121
                                              5020 Montrose Blvd., Suite 800
                                              Houston, Texas 77006
                                              Telephone No.: (713) 284-5200
                                              Facsimile No.: (713) 284-5250
                                              Email: lance@lubelvoyles.com
                                          ATTORNEY FOR PLAINTIFF
                                          BUDDY TRAHAN
   Case 2:10-md-02179-CJB-DPC Document 1900-3 Filed 04/08/11 Page 2 of 2




                                    CERTIFICATE OF SERVICE

        WE HEREBY CERTIFY that the above and foregoing Notice of Submission has been served
on All Counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance
with Pretrial Order No. 12, and that the foregoing was electronically filed with the Clerk of Court
of the United States District Court for the Eastern District of Louisiana by using the CM/ ECF
System, which will send a notice of electronic filing in accordance with the procedures
established in MDL 2179, on this 8th day of April, 2011.



                                             _/s/ Lance Lubel______________
                                             Lance Lubel
